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     ATEN INTERNATIONAL CO., LTD.
11
12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
                               SOUTHERN DIVISION
14
     ATEN INTERNATIONAL CO.,                )
15   LTD.,
                                            )   CASE NO. 2:15-CV-04424-AJG-AJW
16                                          )
           Plaintiff,                       )   PLAINTIFF’S SUBMISSION OF
17                                              PROPOSED SPECIAL VOIR DIRE
                                            )   QUESTIONS
18                                          )
           vs.                              )   TRIAL START DATE: SEPT. 19, 2017
19
                                            )   COURTROOM: 10D
20   UNICLASS TECHNOLOGY CO.                )
     LTD., et al.,                              HON. ANDREW J. GUILFORD
                                            )
21
                                            )
22         Defendants.                      )
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           PLAINTIFF’S SUBMISSION OF PROPOSED SPECIAL VOIR DIRE QUESTIONS
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 1         Pursuant to Section 5.2 of the Order dated June 13, 2017 (Dkt. 399), Plaintiff
 2   ATEN International Co., Ltd. (“ATEN”) respectfully submits the following proposed
 3   special voir dire questions:
 4                   Knowledge of Parties, Witnesses, Attorneys or Jurors
 5   1.    Have you ever heard of the following companies? If so, please explain.
 6         a.     ATEN International Co., Ltd
 7         b.     Uniclass Technology Co., Ltd
 8         c.     Electronic Technology Co., Ltd. of Dongguan Uniclass
 9         d.     Broadtech International Co., Ltd, d/b/a Linkskey
10         d.     Airlink 101
11         e.     Phoebe Micro Inc.
12         f.     Black Box Corporation
13         g.     Black Box Corporation of Pennsylvania
14         h.     StarTech
15         i.     Belkin
16         j.     Trendware or Trendnet
17         k.     Zonet
18                                   Experience with Technology
19   2.    Do you know anything about KVM (keyboard - video monitor - mouse)
20         switches? If yes, please explain.
21
22   3.    Do you or anyone close to you have an engineering or computer science degree?
23         If yes, please explain.
24
25   4.    Have you or anyone close to you worked in the fields of computer engineering,
26         information technology, networking or software? If yes, please explain.
27
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 1            Please identify who, the type of work or position, the company worked
 2              for, and the approximate dates of work.
 3
 4   5.   Do you or anyone close to you write computer code? If yes, please explain.
 5
 6                                Patents and Patent System
 7   6.   Have you, or anyone you know, had any experience with patents, patent law,
 8        patented technology. or patent lawsuits? If yes, please explain.
 9
10   7.   Have you or anyone you know, worked for a company that was involved in a
11        legal dispute regarding a patent or an accusation that technology had been
12        copied, stolen, or otherwise improperly taken or used? If yes, please explain.
13
14   8.   Do you have any feelings regarding patents or any other forms of intellectual
15        property? If yes, please explain.
16
17                        Prior Experience with the Legal System
18                                Educational Background
19   9.   Are you, or anyone close to you, a lawyer, a paralegal, or an employee of a law
20        firm? If yes, please explain.
21   //
22   //
23   //
24   //
25   //
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     //
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           PLAINTIFF’S SUBMISSION OF PROPOSED SPECIAL VOIR DIRE QUESTIONS
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 1   Dated: September 12, 2017               Respectfully submitted,
 2                                           /s/ P. Andrew Riley
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 1                              CERTIFICATE OF SERVICE
 2           The undersigned certifies that the foregoing PLAINTIFF’S SUBMISSION OF
 3   PROPOSED SPECIAL VOIR DIRE QUESTIONS was filed electronically, and
 4   pursuant to Civil L.R. 5-3.2, was served on all interested parties in this action (i.e.,
 5   served to registered ECF recipients via ECF electronic service) on September 12,
 6   2017.
 7
                                     /s/ Lei Mei
 8                                   Lei Mei
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             PLAINTIFF’S SUBMISSION OF PROPOSED SPECIAL VOIR DIRE QUESTIONS
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